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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA
 BERNADETTE WILLIAMS,                             :
                                                  :
                 Plaintiff,                       :    No.
                                                  :
         v.                                       :
                                                  :
 AETNA INC. d/b/a AETNA LIFE                      :    JURY TRIAL DEMANDED
 INSURANCE COMPANY                                :
                                                  :
                 Defendant.                       :

                                          COMPLAINT

       Plaintiff Bernadette Williams (“Ms. Williams”), by her counsel, files this Complaint

against Aetna Inc. d/b/a Aetna Life Insurance Company (“Aetna”) as follows:

                                 JURISDICTION AND VENUE

       1.       This action is brought pursuant to the Americans with Disabilities Act, 42 U.S.C. §

12101, et seq. (the “ADA”), as amended, the Age Discrimination in Employment Act, 29 U.S.C.

§ 621, et seq. (the “ADEA”), and the Pennsylvania Human Relations Act, 43 P.S. § 951, et seq.

(the “PHRA”). This Court has jurisdiction over these claims under 28 U.S.C. § 1331, 28 U.S.C. §

1343(a)(3) and (4), and 28 U.S.C. § 1367.

       2.       Venue is proper pursuant to 28 U.S.C. §1391(b) because each claim arose in the

Western District of Pennsylvania and because Ms. Williams reside in this District.

                                            PARTIES

       3.       Ms. Williams is adult individual residing in the Western District of Pennsylvania.

At all relevant times, Ms. Williams was subjected to age and disability discrimination in her

employment with Aetna. At all relevant times, Ms. Williams was over 40 years of age. At all

relevant times, Ms. Williams had a physical or mental impairment that substantially limits one or

more major life activities.
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       4.       Aetna is a Pennsylvania corporation with a registered business address at 151

Farmington Avenue, Hartford, Connecticut 06156. Aetna has a registered agent address at 67

Burnside Avenue, East Hartford, Connecticut 06108-3408.

                                              FACTS

                                    Employment Background

       5.       Aetna is a publicly traded company that provides health insurance products and

related services throughout the United States. Aetna employs more than 15 employees.

       6.       Ms. Williams became employed by Aetna as an Associate Customer Service

Representative around November 2013, a position which she held at all relevant times.

       7.       As an Associate Customer Service Representative, Ms. Williams was required to

field telephonic and electronic inquiries from Aetna customers regarding Aetna insurance.

       8.       As an Associate Customer Service Representative, Ms. Williams was able to

perform her job duties from any physical location, whether at work, home or otherwise, by

communicating with Aetna customers using e-mail or telephone.

       9.       As an Associate Customer Service Representative, Ms. Williams was able to

communicate with all other Aetna employees from any physical location, whether at work, home

or otherwise, using e-mail, telephone and/or inter-office instant messenger.

       10.      At all relevant times, Ms. Williams’ job duties did not require her to be physically

present at any Aetna location. The essential functions of Ms. Williams’ job can be accomplished

remotely, including from home.

       11.      At all relevant times, any supervision over Ms. Williams was accomplished through

computerized data collection and did not require in-person oversight.




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       12.     To the extent human oversight was used to supervise Ms. Williams, such

supervision was performed by out-of-state supervisors who were not physically present at Ms.

Williams’ place of employment for Aetna.

       13.     At all relevant times, Ms. Williams either met or exceeded her performance metrics.

       14.     Because Ms. Williams either met or exceeded her performance metrics, she was

asked by Aetna to train other Aetna employees to become customer service representatives.

       15.     Because Ms. Williams either met or exceeded her performance metrics, she

received discretionary quarterly performance-based bonuses during each quarter in which she

worked for Aetna.

                                     Disability Background

       16.     In early 2015, Ms. Williams began to experience vision and balance impairments.

       17.     Throughout 2015, Ms. Williams used permissible leave under the Family and

Medical Leave Act (“FMLA”) as well as short-term disability to excuse her presence from work

because of her vestibular disease.

       18.     On or around October 14, 2015, Ms. Williams’ vision and balance impairments

were diagnosed as visual vestibular hypersensitivity. This type of vestibular disease is akin to

vertigo whereby Ms. Williams became prone to episodes of dizziness that render her unable to

control her balance.

       19.     As part of her diagnosis, noise, movement and harsh lighting were identified as

contributors to Ms. Williams’ symptoms. Steps, patterns and long hallways were also identified

as contributors to Ms. Williams’ symptoms. Each of these contributors was present at the Aetna

call center from which Ms. Williams worked.




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       20.     Ms. Williams was paid $16.00 per hour plus other benefits at the time of her

diagnosis of visual vestibular hypersensitivity.

       21.     After October 14, 2015, Ms. Williams began using her remaining FMLA as well as

short-term disability to take leave from work for her vestibular disease.

       22.     In December 2015, Aetna contacted Ms. Williams’ doctor without her permission

or authorization to determine the date on which she would likely return to work full-time. Upon

information and belief, Aetna was told by Ms. Williams’ doctor that she would soon be permitted

to return to work initially for four-hour work days so that she could be reevaluated.

       23.     Ms. Williams’ return to work was to be done gradually so that her symptoms could

be better managed and controlled over time.

       24.     In or about January 2016, Ms. Williams’ doctor officially recommended that she

could return to work for a four-hour work day, with an evaluation as to her progress in 30 days.

       25.     Ms. Williams reported this recommendation to Aetna, but Aetna refused to

accommodate Ms. Williams’ initial return to work on a modified four-hour day. At that time,

Aetna provided Ms. Williams with no other option for her return to work.

       26.     In late-January 2016, because Aetna refused to permit her to return to work on a

modified work schedule, Ms. Williams requested that she be permitted to work from home to

accommodate her disability.

       27.     Ms. Williams’ home office was in a secure area of her home, and all that was

necessary for her job was a phone, computer and secure line.

       28.     By working from home, Ms. Williams was capable of controlling her environment

so that her visual vestibular hypersensitivity is more easily managed.




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       29.     Ms. Williams’ doctor again recommended that she be permitted to return to work

for an initial four-hour work day in February and March 2016. She reported each of those

recommendations to Aetna.

       30.     Aetna denied each attempt for accommodation by Ms. Williams for her to gradually

return to work on a modified schedule. Aetna also denied each attempt for accommodation by Ms.

Williams to work from home.

       31.     At all relevant times, Aetna refused to reassign—or seek reassignment for—Ms.

Williams to a vacant position without the known contributors to her disability.

       32.     At all relevant times, Aetna had available positions in different departments without

the known contributors to her disability, such as claims or data entry. Ms. Williams was qualified

for each of those positions.

       33.     At all relevant times, Aetna refused to interact with Ms. Williams to reasonably

accommodate her visual vestibular hypersensitivity.

       34.     Each of Ms. Williams’ requests for accommodation were reasonable because Aetna

historically modified work schedules for employees with disabilities. Aetna also historically

permitted employees to work from home because physical presence at Aetna is not required to

perform the job duties of a customer service representative.

       35.     In April 2016, Aetna required Ms. Williams to begin long-term disability.

                               Similarly-Situated Employees at Aetna

       36.     At all relevant times, Aetna provided modified work schedules for its employees,

including younger employees, to accommodate their disabilities. At all relevant times, Aetna also

permitted younger employees without disabilities to work from home.




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        37.    For instance, in mid- to late-2016, Cynthia Lehue was diagnosed with a vestibular

disability. Cynthia Lehue was a customer service representative for Aetna at that time. Aetna

provided Cynthia Lehue with a modified work schedule to accommodate her disability.

        38.    In 2017, Aetna also provided Debi Beige, who is younger than Ms. Williams, with

a modified work schedule to accommodate her disability. Debi Beige was a customer service

representative for Aetna at that time.

        39.    Rebekka Diehl, who is younger than Ms. Williams, is permitted to work from home.

Rebekka Diehl is a customer service representative for Aetna.

        40.    At least one other customer service representative for Aetna, who is younger than

Ms. Williams, is permitted to work from home.

        41.    Aetna further permits its customer services representative supervisors to work from

home.

        42.    Shannon Kaelin, who is younger than Ms. Williams, is also permitted to work from

home. Upon information and belief, Shannon Kaelin is a claims representative.

                              Aetna’s Work-From-Home Program

        43.    As stated above, Aetna has historically permitted its employees to work from home,

including customer service representatives.

        44.    Since at least 2017, Aetna formally established a work-from-home program

whereby Aetna employees are permitted to work remotely from home.

        45.    Customer service representatives are among the career opportunities that Aetna lists

as being permitted to work remotely from home.

        46.    According to the work-from-home program, Aetna also permits its employees to

work remotely from home in marketing, management and information technology.



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                                 Harm Suffered by Ms. Williams

       47.     Any reasonable person could find that Ms. Williams’ employment was

substantially worsened because of Aetna’s conduct with respect to her disability, visual vestibular

hypersensitivity.

       48.     Ms. Williams has essentially been terminated by Aetna since October 2015 because

she was diagnosed with visual vestibular hypersensitivity.

       49.     As of June 1, 2017, Aetna terminated Ms. Williams’ long-term disability because

of her visual vestibular hypersensitivity.

       50.     As a direct and proximate result of Aetna’s discrimination, Ms. Williams suffered

loss of wages, benefits and future pecuniary gains.

       51.     As a direct and proximate result of Aetna’s discrimination, Ms. Williams’ also

suffered emotional pain, suffering, inconvenience, mental anguish, loss of enjoyment of life, and

other nonpecuniary losses.

       52.     Aetna’s conduct in refusing to accommodate Ms. Williams’ visual vestibular

hypersensitivity was done with malice or recklessness indifference to her federal protected rights.

             COUNT I – Discrimination Under the ADA, 42 U.S.C. § 12101, et seq.

       53.     The foregoing paragraphs are incorporated herein.

       54.     Ms. Williams is a disabled person within the meaning of the ADA because she has

a physical or mental impairment that substantially limits one or more major life activities.

       55.     Ms. Williams was otherwise qualified to perform the essential functions of her job

as an Associate Customer Service Representative, with or without reasonable accommodations

from Aetna.




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        56.       Ms. Williams suffered an adverse employment decision because of Aetna’s

discrimination against her because of her disability.

        57.       Ms. Williams suffered significant harm because Aetna discriminated against her

because of her disability.

      COUNT II – Failure-to-Accommodate Under the ADA, 42 U.S.C. § 12101, et seq.
        58.       The foregoing paragraphs are incorporated herein.

        59.       Ms. Williams is a disabled person within the meaning of the ADA because she has

a physical or mental impairment that substantially limits one or more major life activities.

        60.       Aetna knew that Ms. Williams was a disabled person within the meaning of the

ADA.

        61.       Ms. Williams expressly requested the reasonable accommodation of a modified

work schedule or to work from home.

        62.       Aetna did not make a good faith effort to assist Ms. Williams in accommodating

her disability.

        63.       Ms. Williams could have been accommodated but for Aetna’s lack of good faith.

        64.       Ms. Williams suffered significant harm because Aetna did not accommodate her

disability.

              COUNT III – Discrimination Under the ADEA, 29 U.S.C. § 621, et seq.

        65.       The foregoing paragraphs are incorporated herein.

        66.       At all relevant times, Ms. Williams was at least 49-years-old, making her a member

of a protected class under the ADEA because of her age.

        67.       Ms. Williams was qualified to perform the essential functions of her job as an

Associate Customer Service Representative.



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       68.     Ms. Williams suffered an adverse employment decision because of Aetna’s

discrimination against her because of her age.

       69.     Ms. Williams was not afforded the same terms, conditions and privileges of her

employment as younger employees at Aetna, thereby raising an inference of age discrimination.

       70.     Ms. Williams suffered significant harm because Aetna discriminated against her

because of her age.

       COUNT IV – Disability Discrimination Under the PHRA, 43 P.S. § 951, et seq.

       71.     The foregoing paragraphs are incorporated herein.

       72.     Ms. Williams is a disabled person within the meaning of the PHRA because she

has a physical or mental impairment that substantially limits one or more major life activities.

       73.     Ms. Williams was otherwise qualified to perform the essential functions of her job

as an Associate Customer Service Representative, with or without reasonable accommodations

from Aetna.

       74.     Ms. Williams suffered an adverse employment decision because of Aetna’s

discrimination against her because of her disability.

       75.     Ms. Williams suffered significant harm because Aetna discriminated against her

because of disability

             Count V – Age Discrimination Under the PHRA, 43 P.S. § 951, et seq.

       76.     The foregoing paragraphs are incorporated herein.

       77.     At all relevant times, Ms. Williams was at least 49-years-old, making her a member

of a protected class under the PHRA because of her age.

       78.     Ms. Williams was qualified to perform the essential functions of her job as an

Associate Customer Service Representative.



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       79.     Ms. Williams suffered an adverse employment decision because of Aetna’s

discrimination against her because of her age.

       80.     Ms. Williams was not afforded the same terms, conditions and privileges of her

employment as younger employees at Aetna, thereby raising an inference of age discrimination.

       81.     Ms. Williams suffered significant harm because Aetna discriminated against her

because of her age.

                                    PRAYER FOR RELIEF

       WHEREFORE, Ms. Williams’ requests that this Court grant the following relief:

       a.      That Aetna be permanently enjoined from discriminating against Ms. Williams
               because of age and disability;

       b.      That Aetna be required to compensate Ms. Williams for back pay, front pay and
               other damages in the form of lost wages, and lost or reduced benefits, with interest
               until the date of any verdict as to be determined at trial;

       c.      That Aetna compensate Ms. Williams for all other applicable compensatory
               damages in an amount to be determined at trial;

       d.      Liquidated damages in an amount to be determined at trial;

       e.      Punitive damages in an amount to be determined at trial;

       f.      Attorney’s fees and costs; and

       g.      All other relief this Court deems just and proper.




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                            Respectfully submitted,

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